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UNITED STATES oF AMERICA ) W UF li'\i .Fs'.~_MFHS
)
Plaintiff, )
)
vs. ) CR. No. 05-20068-1)'/
) 05-20072-D
ARIANE GRANT ) 05-20073-13
Defendant. ) 05-20074-D
) 05-20078-D

 

ORDER ON CHANGE OF PLEA
AND SETTING

 

This cause came to be heard on July l, 2005, the United States
Attorney for this district, Timothy R. DiSCenza, appearing for the
Government and the defendant, Ariane Grant, appearing in person and with
counsel, Larry E. Copeland, Jr., who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count l in each of the
Indictments.

Remaining Counts shall be dismissed at the Sentencing Hearing.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for MDNDAY, OCTOBER 3, 2005, at
1:30 P.M., in Courtroom Nb. 3, on the 9th floor before Judge Bernica B.
Donald.

Defendant is allowed to remain released on present bond.

ENTERED this the (Q"F`day of July, 2005.

    

ITED STATES DISTRICT J'UDGE

  
 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 2:05-CR-20068 Was distributed by faX, mail, or direct printing on
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i»ntESSEE

 

Timothy R. DiScenZa

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Larry E. oCopeland

OZMENT COPELAND & HAYS
138 N. Third St.

an Floor

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Honorable Bernice Donald
US DISTRICT COURT

